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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

Plaintiffs,
Vv.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

Defendants.

 

 

Civil Action No.

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFFS” MOTION FOR TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTION
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INTRODUCTION

For the second time in less than a year, Defendants have enacted a sweeping ban on
asylum that flagrantly violates the text of the Immigration and Nationality Act (INA), flouts the
procedural protections of the Administrative Procedure Act (APA), and betrays our Nation’s
promise to serve as a place of refuge for the most vulnerable fleeing persecution. That prior
policy was rightly and swiftly enjoined. This one should meet the same fate.

The INA broadly authorizes “[a]ny alien who is physically present in the United States”
to “apply for asylum.” 8 U.S.C. § 1158(a). It also imposes several carefully drawn limits on that
right. Jd. § 1158(a)(2), (b)(2). Two of those restrictions concern an alien’s relationship with a
third country: In Section 1158(a)(2)(A), Congress limited asylum eligibility for aliens who have
an opportunity to apply for asylum in a third country, provided that the United States has a
“bilateral or multilateral agreement” with that country, “the alien’s life or freedom would not be
threatened” there, and “the alien would have access to a full and fair procedure for determining a
claim for asylum.” In Section 1158(b)(2)(A)(vi), Congress limited asylum for aliens who were
previously present in a third country, so long as the alien “firmly resettled in [that] country prior
to arriving in the United States.” As the Board of Immigration Appeals has explained, these
provisions serve a common objective: “limit[ing] an alien’s ability to claim asylum in the United
States when other safe options are available.” /n re B-R-, 26 I&N Dec. 119, 122 (2013).

Today, the Attorney General promulgated a rule in the Federal Register that guts both of
these carefully drawn restrictions. See Asylum Eligibility and Procedural Modifications, 84 Fed.
Reg. 33,829 (July 16, 2019) (“the Rule”). That Rule forbids an alien from seeking asylum here
if the alien had any opportunity to seek asylum in a third country—regardless of whether that

country is party to a third-country agreement, threatens the alien’s life and freedom, or has a full
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and fair asylum process. And it withholds asylum from an alien who merely passed through a
third country—regardless of whether the alien “firmly resettled” there. In short, the Rule
purports to rewrite both of the statutory limitations Congress enacted, stripping out all of the
qualifications Congress specifically imposed to ensure an alien’s safety and replacing them with
a wholesale ban on asylum for aliens who set foot in another country on the way to the United
States.

Defendants do not have the power to rewrite the statute in this way—just as Defendants
do not have the power to read out of the statute the right to apply for asylum “whether or not [an
alien entered] at a designated port of arrival.” 8 U.S.C. § 1158(a)(1); see East Bay Sanctuary
Covenant v. Trump, 909 F.3d 1219, 1249 (9th Cir. 2018). Rather, Section 1158 authorizes the
Attorney General “by regulation [to] establish additional limitations and conditions, consistent
with this section, under which an alien shall be ineligible for asylum.” 8 U.S.C. § 1158(b)(2)(C)
(emphasis added). The Attorney General plainly cannot use this supplementary, residual
authority to enact regulations that override the statute’s terms.

And that is just one of the Rule’s many problems. It violates the Trafficking Victims
Protection Reauthorization Act. It fails to comply with the most basic procedural requirements
imposed by the APA. And it inflicts immediate and irreparable harm on the Plaintiffs, which
will be hobbled in their ability to serve their immigrant clients or fulfill their organizational
missions if this illegal restriction on asylum goes into effect. That is apart from the human toll
inflicted upon migrants often in unimaginably desperate circumstances. If this Rule were to be
adopted, at a minimum it would have to be authorized by Congress first; it could not take effect
simply by the stroke of two Executive Branch pens.

All of the prerequisites for emergency relief are satisfied. A temporary restraining order
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should be swiftly entered, and this cruel and unlawful Rule should be enjoined.
BACKGROUND

A. Factual Background

Many individuals who arrive at the southern border of the United States are fleeing
epidemic levels of violence. Compl. §947-49. In El Salvador, Guatemala, and Honduras—
countries known collectively as the “Northern Triangle’—well-connected and well-armed
criminal groups have “surpassed the governments’ capacity to respond.” /d. 749. Women in
these countries face some of the highest rates of homicide and sexual violence in the world. Jd.
50-52. Children are often forcibly recruited into gangs, forced to sell drugs, and employed as
weapons of gang violence. Jd. 954. Reports of violence against lesbian, gay, bisexual, and
transgender (“LGBT”) individuals are widespread, and frequently ignored by local governments.
Id. 4 56.

Hundreds of thousands of individuals have fled these conditions, seeking freedom and
safety. Most seek refuge in the United States by transiting through Guatemala and then Mexico.
In Guatemala, rates of violence are epidemic and persecution are rampant. Mexico, too, is
extremely dangerous for migrants. /d. (63. Approximately 60% of women and girls are raped
while migrating across Mexico, and the murder rate in Mexico has already reached its highest
level ever. Jd. §{] 64-65. When individuals reach the southern border of the United States, they
are often left stranded in Mexico while waiting for backlogs at ports of entry to clear. /d. 4 68.
There, asylum seekers are vulnerable to kidnapping, extortion, and other threats by organized
crime elements. /d.

Against this backdrop of violence, few individuals choose to seek asylum in Mexico. /d.

]62. Mexico’s refugee agency lacks the resources and funding to adequately process asylum
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applications, and requires that applications be filed within 30 days of an individual’s arrival in
the country. Jd. §§{72-75. Furthermore, Mexican detention centers suffer from severe
overcrowding, with over 94% of migrants in detention centers suffering abuse while detained.
Id. Mexican immigration officials reportedly threaten to detain migrants in retaliation for
applying for asylum. Jd. 478. Given these threats, and the dangerous conditions Mexico
presents for many migrants, it is small wonder that most asylum-seekers turn to the United
States.

B. Prior Asylum Policies

Despite the widespread hardship faced by asylum-seekers, Defendants have implemented
a series of increasingly harsh and unlawful policies designed to deter foreign nationals from
seeking asylum at the Nation’s southern border. /d. 474. In April 2018, the Administration
announced a “Zero Tolerance Policy” under which the Government began separating detained
migrant children from their parents. Jd. 975. After a national outcry and numerous judicial
orders deeming this policy unlawful, the Administration announced that it would halt the policy.
/d. 478. Widespread reports indicate that it continues.

In November 2018, the Administration announced a categorical ban on asylum eligibility
for individuals who cross the southern border outside a port of entry. /d. J 80-82. That policy
was challenged in multiple courts—including by Plaintiffs—and was promptly enjoined by the
Northern District of California. /d. 483. Both the Ninth Circuit and Supreme Court refused to
stay that injunction. The Administration continues to defend the policy and seek vacatur of the
injunction. Jd. J 86.

In December 2018, the Administration announced a series of “Migrant Protection

Protocols,” under which certain individuals found to have a “credible fear of persecution” would
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be required to remain in Mexico while their asylum applications were adjudicated. That policy
too was enjoined, although the injunction was stayed by a sharply divided panel of the Ninth
Circuit. See Innovation Law Lab v. McAleenan, 924 F.3d 503 (9th Cir. 2019).

Cc, The Challenged Rule

On July 16, 2019, Defendants imposed the newest, harshest, and most sweeping
restriction on asylum eligibility to date. Invoking the Attorney General’s rulemaking authority
under Section 1158, this Rule purports to deny asylum eligibility to any individual who “enters,
attempts to enter, or arrives in the United States across the southern land border,” after
“transiting through at least one country outside the alien’s country of citizenship, nationality, or
last lawful habitual residence en route to the United States.” 84 Fed. Reg. at 33,843 (amending 8
C.F.R. § 208.13). The Rule contains only three “limited exceptions,” id. at 33,835: for
individuals who applied for and were denied protection from persecution or torture in at least one
country en route to the United States; for individuals who are “victim[s] of a severe form of
trafficking in persons” under 8 C.F.R. §214.11; and for individuals who passed through
countries that are not parties to the major international treaties governing refugees and protection
from torture. 84 Fed. Reg. at 33,843.

This Rule will be applied in the same manner as Defendants’ earlier asylum ban.
Individuals placed in expedited removal proceedings must be found to lack a “credible fear of
persecution” if they are subject to the rule, and can only be granted relief if they surpass the more
onerous “reasonable fear” standard. Jd. at 33,843-44. Individuals placed in full removal
proceedings will not be eligible for asylum, and will only be able to seek relief under the
withholding-of-removal statute and the Convention Against Torture. /d.

The upshot of this Rule, then, is simple: Individuals will not be able to seek asylum on
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the southern border unless they seek and are denied asylum in at least one country they pass
through en route to the United States. In practice, this rule will operate as a virtually total ban on
asylum by individuals fleeing persecution in the Northern Triangle. Individuals fleeing
persecution in those countries will either be required to seek asylum in Mexico—where violence
and persecution are rampant—or return to the Northern Triangle.
ARGUMENT

A plaintiff seeking a temporary restraining order or preliminary injunctive relief must
show “(1) that he is likely to succeed on the merits, (2) that he is likely to suffer irreparable harm
in the absence of preliminary relief, (3) that the balance of equities tips in his favor, and (4) that
an injunction is in the public interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014);
see also Morgan Stanley DW, Inc. v. Rothe, 150 F. Supp. 2d 67, 72 (D.D.C. 2001). All four
showings are amply made here.
I. Plaintiffs’ Claims Are Likely To Succeed On The Merits.

A. The Rule Violates Section 1158.

The Rule suffers from a straightforward and fatal legal flaw. In Section 1158, Congress
set forth two carefully drawn circumstances in which aliens who have transited through or are
eligible for asylum in a third country are barred from seeking asylum. See 8 U.S.C.
§ 1158(a)(2)(A), (b)(2)(A)(vi). The Rule rewrites those provisions, stripping away the
qualifications Congress imposed and replacing them with a blanket ban on asylum eligibility for
anyone who has transited through or is eligible for asylum in a third country. The residual
rulemaking authority granted by Section 1158(b)(2)(C) does not permit Defendants to
contravene the statute in this way. And that is confirmed by the international-law backdrop

against which Section 1158 was enacted.
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. Section 1158(b)(2)(C) does not permit the Attorney General to rewrite
specific provisions of the INA.

Under the Immigration and Nationality Act, an alien is generally eligible for asylum if
she can show a “well-founded fear of persecution on account of race, religion, nationality,
membership in a particular social group, or political opinion.” 8 U.S.C. §§ 1101(a)(42)(A),
1158(b)(1). A grant of asylum allows an alien to live and work in safety in the United States
with her immediate family. /d. § 1158(b)(3), (c)(1).

The procedures and standards for obtaining asylum in the United States are laid out in 8
U.S.C. § 1158. The first subsection grants to “[a]my alien who is physically present in the United
States[,] .. . irrespective of such alien’s status,” the right to “apply for asylum.” Jd. § 1158(a)(1).
The statute then enumerates a few carefully circumscribed exceptions to that right. As relevant
here, the first exception involves aliens who may be removed to a “[s]afe third country” pursuant
to an international agreement where the alien would have “access to a full and fair procedure” to
apply for asylum. /d. § 1158(a)(2)(A). The statute also enumerates several bars that render an
alien ineligible for asylum, including a bar on asylum eligibility for an alien who “was firmly
resettled in another country prior to arriving in the United States.” Jd. § 1158(b)(2)(A)(vi).

In addition to these specific limits, Congress has empowered the Attorney General “by
regulation [to] establish additional limitations and conditions, consistent with this section, under
which an alien shall be ineligible for asylum.” /d. § 1158(b)(2)(C) (emphasis added). This
provision does not allow the Attorney General to arbitrarily erase undesirable or inconvenient
provisions of the INA: By its terms, Section 1158(b)(2)(C) requires that any “additional
limitations” imposed by the Attorney General be “consistent with this section.” See also 8
U.S.C. § 1158(d)(5)(B) (in subsection regarding “[a]sylum procedure,” authorizing the Attorney

General to “provide by regulation for any other conditions or limitations on the consideration of
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an application for asylum not inconsistent with this chapter’ (emphasis added)). The words
“consistent with” mean just that: that additional regulations must fit together with, rather than
undercut or countermand, other provisions of this section. And “additional” limitations are ones
that are “supplementary.” Oxford English Dictionary (online ed. 2019). The Attorney General
does not “supplement[]” what Congress has done by nullifying the provisions it has enacted.

This accords with basic principles of administrative law. “[I]t is well established that an
agency may not circumvent specific statutory limits on its actions by relying on separate, general
rulemaking authority.” Air All. Houston v. EPA, 906 F.3d 1049, 1061 (D.C. Cir. 2018). An
agency therefore “cannot escape Congress’s clear intent to specifically limit an agency’s
authority under [one provision] by grasping at its separate, more general authority under [another
provision],” thus “depriv[ing] the more specific authority of virtually all effect.” Jd. (quoting
Halverson v. Slater, 906 F.3d 180, 189 (D.C. Cir. 2018)) (brackets in original omitted); see also
Gonzalez v. Oregon, 546 U.S. 243, 262 (2006) (refusing to infer that a broad provision grants the
Attorney General “unrestrained” power where Congress “painstakingly described the Attorney
General’s limited authority” over the subject); NRDC v. Reilly, 976 F.2d 36, 40 (D.C. Cir. 1992)
(a “general grant of rulemaking power . . . [cannot] trump the specific provisions of the Act”).

In sum, Congress enacted a detailed scheme for granting and limiting eligibility for
asylum. And the residual power granted by Section 1158(b)(2)(C) cannot be used to
countermand the statutory scheme that Congress enacted.

2. The Rule rewrites provisions governing asylum contained in Section

1158(a)(2)(A) and 1158(b)(2)(A)(vi).
Defendants have done just that: By imposing a blanket bar on asylum eligibility for any
individual who transited through a third country in which she could have sought asylum, the

Rule rewrites two separate provisions of Section 1158: Section 1158(a)(2)(A), which restricts
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asylum eligibility for individuals who could have sought asylum in a safe third country; and
Section 1158(b)(2)(A)(vi), which restricts asylum eligibility for individuals who firmly resettled
in another country. The Rule effectively strikes out the limits contained in these rules and
imposes new restrictions that wholly subsume the provisions Congress enacted, “depriv[ing] the
more specific authorit[ies] of virtually all effect.’” Air All. Houston, 906 F.3d at 1061 (quoting
Halverson, 129 F.3d at 189).

a. Start with section 1158(a)(2)(A), which specifies in detail the circumstances in which
foreign nationals may be required to seek asylum in a third country before exercising their right
to apply for asylum here. This provision states that an alien may not apply for asylum if five
circumstances are met:

[1] the alien may be removed, pursuant to a bilateral or multilateral agreement,

[2] to a country (other than the country of the alien’s nationality or, in the case of an alien
having no nationality, the country of the alien’s last habitual residence),

[3] in which the alien’s life or freedom would not be threatened on account of race,
religion, nationality, membership in a particular social group, or political opinion,

[4] and where the alien would have access to a full and fair procedure for determining a
claim to asylum or equivalent temporary protection,

[5] unless the Attorney General finds that it is in the public interest for the alien to
receive asylum in the United States.

8 U.S.C. § 1158(a)(2)(A). Unless all of those conditions are satisfied, the safe third-country
exception is inapplicable and the alien’s right to “apply for asylum,” granted by Section 1158(a),
is intact. The United States does not have a “safe third country” agreement with any Central

American country.
The Rule, however, places a bar on asylum eligibility for aliens who satisfy only two of
those five criteria. Specifically, it prohibits asylum for any foreign national who (1) could have

“applie[d] for protection from persecution or torture” in a country that (2) is not “the alien’s

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country of citizenship, nationality, or lawful permanent residence.” 84 Fed. Reg. at 33,843. In
so doing, the Rule bars asylum for anyone who satisfies the second and fourth criteria (and only
part of the fourth criterion at that). The Rule writes out of the statute all of the remaining
requirements: that the United States must have “a bilateral or multilateral agreement” with the
third country, that “the alien’s life or freedom would not be threatened” there, that the asylum
procedures in that country are “full and fair,” and that the Attorney General not “find[] that it is
in the public interest for the alien to receive asylum in the United States.” In other words,
Congress created a narrow bar on asylum eligibility for a specific class of people based on their
capacity to apply for asylum in a third country, and the Rule tries to broaden the bar by
destroying Congress’ limits on it.

To see why this is so clearly unlawful, consider a closely analogous example. Right
below the “safe third country” provision in Section 1158 is another exception, saying that an
alien cannot apply for asylum “unless the alien demonstrates by clear and convincing evidence
that the application has been filed within 1 year after the date of the alien’s arrival in the United
States.” 8 U.S.C. § 1158(a)(2)(B). Suppose a President passed a regulation reciting the exact
same statistics about the burdens on the present asylum system and providing that, in light of
those burdens, going forward only those who apply within 6 months of arrival would be able to
apply for asylum. The effect of that regulation would be to narrow the scope of the exception,
and thus broaden the class of aliens who are unable to apply for asylum. And it would be plainly
unlawful: | year does not mean 6 months, and a regulation purporting to make them equivalent
would be an affront to the “core administrative-law principle that an agency may not rewrite
clear statutory terms to suit its own sense of how the statute should operate.” Util. Air

Regulatory Grp. v. EPA, 573 U.S. 302, 328 (2014). The Rule is a barely disguised variant of that
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clearly forbidden policy—it broadens the safe harbor exception and thus narrows the class of
those who can apply for asylum, in derogation of Congress’s scheme.

That is confirmed by another feature of the exceptions in Section 1182(a)(2). Subsection
(E) provides that the safe third country exception “shall not apply to an unaccompanied alien
child.” Thus, when a child enters the country alone, even if she meets ail five of the criteria for a
safe third country, the Attorney General is prohibited from denying asylum on that basis. The
effect of the Rule is that the very same child can be denied asylum if she meets one and a half of
those criteria. Indeed, the Rule nakedly states this is so. 84 Fed. Reg. at 33,839 n.7. That
perverse outcome cannot be—and is not—right. Air All. Houston, 906 F.3d at 1061 (quoting
Halverson, 129 F.3d at 189).

b. The Rule conflicts starkly with another provision of Section 1158. Section
1158(b)(2)(A)(vi) provides that foreign nationals are ineligible for asylum “if the Attorney
General determines that . . . the alien was firmly resettled in another country prior to arriving in
the United States.” 8 U.S.C. § 1158(b)(2)(A)(vi). This language has been interpreted (including
by the Government) to mean that a foreign national may be denied asylum if, after leaving the
country in which she allegedly suffered persecution, she “received[] an offer of permanent
resident status, citizenship, or some other type of permanent resettlement” elsewhere. Sail v.
Gonzalez, 437 F.3d 229, 232 (2d Cir. 2006) (quoting 8 C.F.R. § 208.15).

The Rule turns that provision on its head. It says that a foreign national may not seek
asylum in the United States so long as she “‘transit[ed] through at least one country outside the
alien’s country of citizenship, nationality, or last lawful habitual residence.” 84 Fed. Reg. at
33,843 (emphasis added). This rule is tantamount to striking the words “firmly resettled” out of

the provision entirely, so that it reads: an alien is ineligible for asylum “if the Attorney General

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determines that ... the aliens was firmly-resettled in another country prior to arriving in the
United States.” Neither courts nor agencies are “free to rewrite clear statutes under the banner of
[their] own policy concerns.” Azar v. Allina Health Servs., 139 8. Ct. 1804, 1815 (2019).

In short, Defendants have effectively rewritten two of the statute’s exceptions to asylum.
Congress specified that foreign nationals are asylum-ineligible if they could have sought asylum
in a country with which the United States has a safe third-country agreement, or if they have
firmly resettled in another country. Defendants have enacted something else entirely: rules
providing that foreign nationals are asylum-ineligible if they could have sought asylum in any
country that they passed through en route to this one. It is hard to think of a clearer affront to the
bedrock principle that an “agency” cannot “rewrite ... a clear statutory term.” Uril. Air
Regulatory Grp., 573 U.S. at 328 n.8.

3. The Rule is inconsistent with international law and the Charming Betsy
canon.

And not just that: The Rule is in blatant tension with international law, too. See INS v.
Cardoza-Fonseca, 480 U.S. 421, 436 (1987) (explaining that “one of Congress’s primary
purposes” in enacting the Refugee Act “was to bring United States refugee law in to
conformance” with international refugee law). It has long been a widely accepted principle of
international refugee law that “asylum should not be refused solely on the ground that it could be
sought from another State.” UNHCR Exec. Comm., Refugees Without an Asylum Country,
Conclusion No. 15(h)(iv) (XXX) (Oct. 16, 1979).' Rather, the U.N. High Commissioner on
Refugees—whose views represent “significant guidance” in interpreting the Refugee

Convention, Cardoza-Fonseca, 480 U.S. at 439 n.22—has stated that before transferring asylum-

 

Available at __ https://www.unhcr.org/en-us/excom/exconc/3ae68c960/refugees-asylum-
country.html.

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seekers to another country, a state “needs to guarantee that each asylum-seeker” will receive
basic protections, including ‘access to fair and efficient procedures for the determination of
refugee status,” “protect[ion] against refoulement,” and an “individual[ized] assesss[ment] as to
the appropriateness of the transfer.” UNHCR, Guidance Note on bilateral and/or multilateral
transfer arrangements of asylum seekers 4 3(vi) (May 2013) (emphasis added).”

Congress codified those international-law requirements in Section 1158(a)(2)(A). In
language that unmistakably mirrors the international-law standard, it provided that an alien may
be referred to a third country to seek asylum only where that country would afford the alien “a
full and fair procedure for determining a claim to asylum,” “the alien’s life or freedom would not
be threatened,” and the Attorney General declines to make an individualized assessment that “‘it
is in the public interest for the alien to receive asylum in the United States. 8 U.S.C.
§ 1158(a)(2)(A). These are the protections that the Rule has effectively stripped out of the law.
Indeed, the Rule has replaced the INA’s standard with the very rule that international law
forbids: a categorical bar on asylum “solely on the ground that it could be sought from another

State.” It is unsurprising, then, that the UNHCR has flatly declared that this Rule “‘is not in line

 

* See also UNHCR Exec. Comm, Conclusion on International Protection, Conclusion No. 85(aa)
(XLIX) (Oct. 9, 1998), available at https://www.unhcr.org/en-
us/excom/exconc/3ae68c6e30/conclusion-international-protection.html (stating that before
returning an asylum-seeker to a third country, “it should be established that the third country will
treat the asylum-seeker ... in accordance with accepted international standards, will ensure
effective protection against refoulement, and will provide the asylum-seeker (asylum-seekers)
with the possibility to seek and enjoy asylum”); Guy Goodwin-Gill & Jane McAdam, The
Refugee in International Law 393 (3d ed. 2007) (‘In order for States to observe their non-
refoulement and human rights obligations, a precondition to exercising the safe third country
mechanism is that the third State can provide the individual with ‘effective protection.’ ”).

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with international obligations.” UNHCR, UNHCR deeply concerned about new U.S. asylum
restrictions (July 15, 2019).

That provides an additional weighty reason to hold the Rule unlawful. Statutes must be
construed, if possible, in a manner consistent with international law. See Port Auth. of N.Y. &
NJ. v. Dep't of Transp., 479 F.3d 21, 31 (D.C. Cir. 2007) (“[A]n act of Congress ought never to
be construed to violate the law of nations if any other possible construction remains” (quoting
Murray v. The Schooner Charming Betsy, 6 U.S. (2 Cranch) 64, 118 (1804))); see Cardoza-
Fonseca, 480 U.S. at 439; see also F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155,
164 (2004) (“we must assume” that “Congress ordinarily seeks to follow” “principles of
customary international law”). And it is wholly implausible that the same Congress that took
such obvious care to codify the Nation’s international-law obligations in Section 1158(a)(2) also
gave the Attorney General authority to flout those obligations at will—particularly in a provision
requiring that any new limitations on asylum be “consistent with this section.” 8 U.S.C.
§ 1158(b)(2)(C).

4, Defendants have offered no valid defense of the Rule.

Defendants have offered no valid defense of their brazen violation of the statute.

The Rule’s preamble claims that the Rule is analogous to cases in which the Attorney
General has held that aliens are ineligible for asylum if there has been a “fundamental change of
circumstances” or if the alien could “safely relocate internally within the alien’s country of
nationality or of last habitual residence.” 84 Fed. Reg. at 33,833 (citing Asylum Procedures, 65
Fed. Reg. 76,121, 76,126 (Dec. 6, 2000). But the statute expressly allows the termination of

asylum on the basis of a “fundamental change in circumstances” pertinent to an individual case,

 

> Available at https://www.unhcr.org/news/press/2019/7/5d2cdfl 1 4/unhcr-deeply-concerned-
new-asylum-restrictions.html.

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and Defendants do not ground the Rule on that express statutory grant here. 8 U.S.C.
§ 1158(c)(2)(A). And the question of whether an alien can reasonably be expected to relocate
internally is directly relevant to whether the alien satisfies the definition of “refugee status.”
Singh v. Illchert, 63 F.3d 1501, 1511 (9th Cir. 1995); see UNHCR, Handbook on Procedures and
Criteria for Determining Refugee Status, 991 (1992). Permitting consideration of this factor
does not undermine, let alone rewrite, any of the specific criteria for asylum ineligibility that
Congress imposed.

The preamble also asserts that this rule “protect[s] the ‘core regulatory purpose’ of
asylum law by prioritizing applicants ‘with nowhere else to turn.” 84 Fed. Reg. at 33,834
(quoting Jn re B-R-, 26 I&N Dec. at 122). That is a severe distortion of Congress’s purpose. As
Defendants’ own citation explains—indeed, earlier in the very same sentence Defendants
quote—Congress sought to limit asylum where aliens have a “choice of safe homelands.” In re
B-R-, 26 I&N Dec. at 122 (emphasis added). That is why the statutory provisions cited above
“all limit an alien’s ability to claim asylum in the United States when other safe options are
available,” whether because the alien benefits from a “safe third-country” agreement or because
the alien has permanently resettled outside the country in which she faced persecution. Jd.; see
Sall, 437 F.3d at 233 (construing “firm resettlement” bar to apply to aliens who have found
“alternative places of refuge abroad”). The Rule thwarts that purpose, by stripping from the
statute the very limitations designed to ensure that a foreign national’s alternative places for
seeking asylum are in fact safe, and by requiring aliens to seek asylum in countries where foreign
nationals often face severe threats of persecution and violence. See 84 Fed. Reg. at 33,834
(acknowledging that the rule bars asylum for aliens who merely have “avenues to protection”

(emphasis added)). In any event, “no legislation pursues its purposes at all costs,” Rodriguez v.

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United States, 480 U.S. 522, 525-526 (1987) (per curiam), and “[vJague notions of statutory
purpose provide no warrant for expanding” the specific exceptions built into Section 1158
“beyond the field to which [they are] unambiguously limited.” Freeman v. Quicken Loans, Inc.,
566 U.S. 624, 637 (2012).

A final point: The Attorney General here claims the power, with a stroke of his pen, to
render a huge percentage of the aliens that cross into this country ineligible for asylum. It is
unlikely—to say the least—that Congress meant to vest such a vast power in the Attorney
General in a residual sub-sub-section of a provision of the INA. See Whitman v. Am. Trucking
Ass'ns, 531 U.S. 457, 468 (2001) (Congress “does not alter the fundamental details of a
regulatory scheme in vague terms or ancillary provisions.”). Especially when the exercise of that
purported power is in blatant tension with the specific provisions that Congress did pass.

B. The Rule Violates the TVPRA

In addition to violating the INA, the Rule violates the Trafficking Victims Protection
Reauthorization Act (TVPRA). Congress passed that Act to provide additional procedural
protections to unaccompanied children who had previously been subjected to an immigration
system designed for adults. Under the TVPRA, unaccompanied children have a statutory right to
present their case for asylum to a USCIS asylum officer, as opposed to an immigration judge in
an adversarial setting. See Harmon v. Holder, 758 F.3d 728, 734 (6th Cir. 2014). This
additional procedural mechanism affords unaccompanied children a less intimidating and
adversarial setting to recount the traumatic and sensitive details surrounding their claims for
asylum. Cf. 154 Cong. Rec. S10886-01 (daily ed. Dec. 10, 2008) (statement of Sen. Feinstein
explaining the purpose of the TVPRA). An unaccompanied child subject to the Rule, however,

is immediately ineligible for asylum, irrespective of the merits of her claim. 84 Fed. Reg. at

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33,839 n.7. Accordingly, unaccompanied children are forced back into the immigration system
designed for adults: They must present their claims for statutory withholding of removal or
protection under the Convention Against Torture to an immigration judge in an adversarial
proceeding. /d. The Rule thus vitiates the TVPRA.

Cc, The Rule Is Invalid Because It Went Into Effect Immediately And Did Not
Go Through The Required Notice And Comment.

This Rule also contravenes the fundamental procedural protection of the APA. Pursuant
to the APA, administrative agencies generally must provide a “notice of proposed rule making
...1n the Federal Register” and “give interested persons an opportunity to participate in the rule
making” before the promulgation of a final rule. 5 U.S.C. § 553(b), (c). This notice-and-
comment requirement is not a technicality. The procedure ‘“ensure[s] that agency regulations are
tested via exposure to diverse public comment,” “ensure[s] fairness to affected parties,” and
“give(s] affected parties an opportunity to develop evidence in the record to support their
objections to the rule and thereby enhance the quality of judicial review.” Jnt’l Union, United
Mine Workers of Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005).
Participation may also help legitimize controversial rules in the eyes of the public; as Judge
Posner has explained, “[t]he greater the public interest in a rule, the greater reason to allow the
public to participate in its formation.” Hoctor v. United States Dep't of Agric., 82 F.3d 165, 171
(7th Cir. 1996).

1, Good Cause Exception

The APA “creates a narrow exception” to the notice and comment requirement,
“applicable only when an ‘agency for good cause finds ... that notice and public procedure
thereon are impracticable, unnecessary, or contrary to the public interest.”” Council of S.

Mountains, Inc. v. Donovan, 653 F.2d 573, 580 (D.C. Cir. 1981) (quoting 5 U.S.C. § 553). As

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the D.C. Circuit has explained, “the good-cause inquiry is ‘meticulous and demanding.’
Sorenson Comme’ns Inc. v. FCC, 755 F.3d 702, 706 (D.C. Cir. 2014) (quoting N.J. Dep't of
Envt'l Prot. v. EPA, 626 F.2d 1038, 1046 (D.C. Cir. 1980)). Courts must “‘narrowly construe[]’
and ‘reluctantly countenance[]’ the exception,” id. (quoting Mack Trucks, Inc. v. EPA, 682 F.3d
87, 93 (D.C. Cir. 2012)), and the agency’s good-cause determination must be supported by
“factual findings” grounded in the record, not “unsupported assertion” or evidence “too scant to
establish a[n]... emergency.” Jd. at 707.

The D.C. Circuit has “approved an agency’s decision to bypass notice and comment” on
the ground of “[i]mpracticability” only “where delay would imminently threaten life or
physical property.” Sorensen Commc’'ns, 755 F.3d at 706; see, e.g., Jifry v. FAA, 370 F.3d
1174, 1179 (D.C.Cir.2004) (finding good cause when rule was “necessary to prevent a possible
imminent hazard to aircraft, persons, and property within the United States”); Donovan, 653
F.2d at 581 (finding good cause where rule was of “life-saving importance” involving miners in
a mine explosion). In other words, this exception “should be limited to emergency situations.”
Mack Trucks, Inc., 682 F.3d at 93 (quoting Am. Fed’n of Gov't Emp., AFL-CIO v. Block, 655
F.2d 1153, 1156 (D.C. Cir. 1981)); see Jifry, 370 F.3d at 1179 (same). Defendants have
pointed to no emergency warranting a bypass of the normal administrative process here.

Instead, Defendants recycle their familiar claim that immediate publication of this Rule
is necessary to avoid a hypothesized “surge of aliens who would have strong incentives to seek
to cross the border during pre-promulgation notice and comment.” 84 Fed. Reg. at 33,841.
The Court has encountered this justification before: Defendants relied on the same imagined
surge as the basis for the asylum ban on illegal entrants it announced in November 2018.

Aliens Subject to a Bar on Entry Under Certain Presidential Proclamations; Procedures for
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Protection Claims, 83 Fed. Reg. 55,934, 55,950 (Nov. 9, 2018). That surge did not materialize
when the rule was temporarily enjoined shortly after its promulgation. See U.S. Customs and

Border Protection, Southwest Border Migration FY2019 (last modified July 10, 2019)

(showing no increase in border crossings from November 2018 to January 2019)." Yet
Defendants were undeterred, repeatedly relying on similar claims of impending crisis to assert
other unprecedented authorities, including a declaration of national emergency on the southern
border, see Proclamation No. 9844 (Feb. 15, 2019), two proclamations extending the initial
asylum ban, see Proclamation No. 9842 (Feb. 7, 2019); Proclamation No. 9880 (May 8, 2019),
and a set of Migrant Protection Protocols, see Notice of Availability for Policy Guidance
Related to Implementation of the Migrant Protection Protocols, 84 Fed. Reg. 6811 (Feb. 28,
2019).

Given these repeated claims, one would think Defendants would have come up with
some “record support” for their promised surge. Sorensen Commc’ns, 755 F.3d at 706.
Remarkably, however, the only factual support Defendants identify (and cite repeatedly) is the
same frail support they trotted out for their initial asylum ban: a newspaper article containing a
double-hearsay characterization of a single human smuggler’s threat that foreign nationals
should “hurry up” and cross the border before the government began “jail[ing] who bring
children.” O.A. v. Trump, No. 18-2718, AR 391; see 84 Fed. Reg. at 33,841. That statement
practically defines “unsupported assertion.” Sorensen Commc’ns, 755 F.3d at 706. It cannot
serve as the fulcrum for dispensing with notice-and-comment for arguably the most sweeping

asylum policy in history.

 

* Available at https://www.cbp.gov/newsroom/stats/sw-border-migration.

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That is particularly so given that the threat Defendants hypothesize would be self-
inflicted. When the D.C. Circuit has found good case to dispense with notice and comment, it
has generally been because the rule is designed to prevent or halt some emergency. See, e.g.,
Donovan, 653 F.2d at 581 (rule was of “life saving importance”); Jifry, 370 F.3d at 455 (rule
necessary to prevent “a security threat”).° Here, in contrast, the threat Defendants rely on
consists entirely of people anticipating the very rule Defendants wish to put in place. If that
were enough for good cause, the notice-and-comment requirement would become “an all
purpose escape-clause.” Mobil Oil Corp. v. Dep't of Energy, 728 F.2d 1477, 1492 (Temp.
Emer. Ct. App. 1983). The good cause exception is not designed to rescue Defendants, any
more than a private party, from their “own choices.” Mack Trucks, 682 F.3d at 93 (citation
omitted).

2. Foreign Affairs Exception

Defendants also claim that the procedural requirements of the APA are inapplicable
because the Rule involves a “foreign affairs function of the United States.” 5 U.S.C.

§ 553(a)(1). That narrow exception plainly does not apply here.

 

° Likewise, the rulemakings Defendants cite dispensed with notice and comment in order to
address some existing emergency well-supported by the record, not a speculative future surge
caused by the rule itself. See Eliminating Exception to Expedited Removal Authority for Cuban
Nationals Arriving by Air, 82 Fed. Reg. 4769, 4770 (Jan. 17, 2017) (stating that “DHS has
recently seen a significant increase in attempts by Cuban nationals to illegally enter the United
States “ through “dangerous” means, “driven in part by the perception that there is a limited
window” before an adjustment in diplomatic relations); Designating Aliens for Expedited
Removal, 69 Fed. Reg. 48,877, 48,880 (Augh. 11, 2004) (describing “urgent need to enhance
DHS’s ability to improve the safety and security of the nation’s land borders” in light of recent
rescues of “hundreds of aliens in distress” and discovery of “40 aliens who have died in an
attempt to enter the U.S.”); Visas: Documentation of Nonimmigrants Under the Immigration and
Nationality Act, As Amended, 81 Fed. Reg. 5906, 5906-5907 (Feb. 4, 2016) (invoking good
cause to address “fraud and security concerns that have developed subsequent to [a prior] rule’s
publication”).

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As multiple courts have explained, the “foreign affairs” exception “‘is not to be loosely
interpreted to mean any function extending beyond the borders of the United States.’” Hou
Ching Chow vy. Att'y General, 362 F. Supp. 1288, 1290 (D.D.C. 1973) (quoting S. Rep. No. 752,
79th Cong. Ist Sess. (1946)). “[I]mmigration matters typically implicate foreign affairs at least
to some extent,” and “it would be problematic if incidental foreign affairs effects eliminated
public participation in this entire area of administrative law.” See City of New York v.
Permanent Mission of India to United Nations, 618 F.3d 172, 202 (2d Cir. 2010) (internal
quotation marks and citation omitted). Thus, it is not enough that a rule merely “implicate[s]
foreign affairs.” Yassini v. Crosland, 618 F.2d 1356, 1360 n.4 (9th Cir. 1980). ‘For the
exception to apply,” going through the notice-and-comment process “should provoke definitely
undesirable international consequences,” id., such as causing the United States to “reneg[e] on
international obligations,” /nt’l Bhd. of Teamsters v. Pefia, 17 F.3d 1478, 1486 (D.C. Cir. 1994),
or prolonging a diplomatic crisis, Yassini, 618 F.2d at 1360; see also WBEN, Inc. v. United
States, 396 F.2d 601, 616 (2d Cir. 1968) (Friendly, J.).

Defendants fail to identify any such consequences in this case. Their principal
argument for invoking the foreign affairs exception is that “[t]he flow of aliens across the
southern border ... directly implicates the foreign policy and national security interests of the
United States.” 84 Fed. Reg. at 33,841 (emphasis added). But that rationale is exactly the type
that the APA deems inadequate: It is an assertion merely that the rule “implicate[s] foreign
affairs,” as every immigration rule does, not that delaying implementation of the rule would
“provoke definitely undesirable international consequences.” Permanent Mission, 618 F.3d at

202; see Yassini, 618 F.2d at 1360 n.4.
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Pivoting only slightly, Defendants then claim that immediate implementation of the rule
would aid “long-term U.S. relations with Mexico and the Northern Triangle countries” by more
quickly ‘“address[ing] the enormous flow of aliens through these countries to the southern
border.” 84 Fed. Reg. at 33,842. It is more than a little surprising for Defendants to claim that
even slight delay in addressing a decades-old problem would “definitely,” Permanent Mission,
618 F.3d at 202, undercut long-term U.S. relations with its neighbors. In any event, Defendants
do not so much as hint as to why Mexico and the Northern Triangle countries would prefer (as
oppose to strenuously object to) a U.S. policy of unilaterally turning away large numbers of
asylum-seekers and leaving them instead on its neighbor’s doorstep. And even if they did
prefer it, the argument proves too much, since it would allow the circumvention of notice and
comment for all sorts of regulations that have some incidental impact on a relationship with
another country.

Straining the reader’s credulity even further, Defendants posit that “negotiations [with
other countries] would be disrupted if notice-and-comment procedures” were allowed, because
“public participation and comments may impact and potentially harm the goodwill between the
United States and Mexico and the Northern Triangle countries.” 84 Fed. Reg. at 33,842. But
Defendants fail entirely to explain how permitting individuals to submit written comments on an
administrative docket could appreciably affect goodwill with Mexico and the Northern Triangle
any more than the vociferous public debate that already attends immigration issues in this
country every day.

Finally, Defendants claim that “[t]he interim final rule will strengthen the ability of the
United States to address the crisis at the southern border and therefore facilitate the likelihood of

success in future negotiations.” /d. This rationale just skirts Defendants’ burden, which asks

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not whether the Ru/e will assist the United States, but whether “immediate publication of the
Rule... is necessary for negotiations with Mexico.” East Bay, 909 F.3d at 1252. It too fails to
justify dispensing with notice and comment.

II. The Other TRO And Preliminary Injunction Factors Are Readily Met.

A. The Rule Inflicts Irreparable Harm on Plaintiffs.

In deciding whether to grant a temporary restraining order or preliminary injunction, a
court must also consider whether the plaintiffs will “suffer irreparable harm before a decision on
the merits can be rendered.” Nat'l Parks Conservation Ass'n. v. Semonite, 282 F. Supp. 3d 284,
289 (D.D.C. 2017) (quotation and emphasis omitted). Plaintiffs here have demonstrated that the
Rule will inflict the sort of “actual” and “imminent” injury necessary to establish irreparable
harm. League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 7-8 (D.C. Cir. 2016)
(quotations and alterations omitted).° And that is apart from the massive human toll of denying a
realistic path to asylum for people in desperate, even unimaginable, circumstances. Indeed, the
harm threatened here is particularly grave, inflicting the consequences of Government evasion of
the law upon the most vulnerable.

The Rule inflicts numerous irreparable harms on CAIR Coalition and RAICES. As this
and many other courts have recognized, policies making it “more difficult for [an organization]
to accomplish [its] primary mission ... provide injury for purposes [of] .. . irreparable harm.”
Open Communities All. v. Carson, 286 F. Supp. 3d 148, 177 (D.D.C. 2017); see also, e.g.,
Exodus Refugee Immigration, Inc. v. Pence, 165 F. Supp. 3d 718, 739 (S.D. Ind. 2016), affd, 838

F.3d 902 (7th Cir. 2016) (similar). In addition, the D.C. Circuit has held that an organization’s

 

° Because Plaintiffs can establish irreparable harm, there should be no question that Plaintiffs
have also satisfied the requirements of Article III standing. See East Bay, 909 F.3d at 1241-43.
Moreover, Plaintiffs fall within the INA’s zone of interests. /d. at 1243-45.

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expense of staff time and resources in responding to policy may be deemed an irreparable injury
because “there can be no do over and no redress.” League of Women Voters, 838 F.3d at 9
(internal quotation marks and citation omitted). CAIR Coalition and RAICES have experienced
both of these types of irreparable harm as a result of the Rule. See East Bay, 909 F.3d at 1241-
43,

Facilitating asylum applications for those who enter along the border with Mexico is an
essential component of the mission of both CAIR Coalition and RAICES. Compl. ff 112-14;
Cubas Decl. { 4; 14; 39; Garza Decl. 9 4; 7; 33. The Rule would interfere with this mission.
CAIR Coalition provides this assistance to individuals in the Washington, D.C. area, many of
whom have been transferred from the border, while RAICES generally offers its services in
Texas. Compl. ff 14-15; Cubas Decl. § 4; Garza Decl. 9 4. CAIR Coalition would be unable to
assist nearly all individuals who enter the southern border because many of these individuals
would be summarily deported before they even reach the D.C. metropolitan area. Compl. J 114;
Cubas Decl. 9 14. And both organizations would be severely limited in the number of asylum
seekers they could serve due to the increased resources that would be required on a per-client
basis to staff screening interviews and deportation proceedings under the new system proposed
by the Rule. Compl. ff 114-16; 135-36; Cubas Decl. | 15; Garza Decl. § 7. For example, CAIR
Coalition estimates that as a result of the Rule, its staff members would need to spend about
double the amount of time to prepare asylum seekers subject to the Rule for credible fear
interviews, reducing the number of such individuals that CAIR Coalition could serve. Compl.
4] 120; Cubas Decl. ¥ 22.

Moreover, the increased resources required to protect asylum seekers subject to the Rule

would require the organizations to divert time and resources from the provision of other services.
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Notably, while both organizations have previously relied on legal assistants, paralegals, and law
students to accompany clients to their credible fear interviews, CAIR Coalition and RAICES
anticipate that the Rule would require them to staff credible fear interviews with attorneys,
because the interviews would involve complex legal and factual issues regarding multiple
countries. Compl. ff] 120-28; 141; 145; Cubas Decl. {] 27-28; Garza Decl. Jf 14; 18. Asa
result, those attorneys would be unable to take on as many merits stage clients. Compl. {J 122;
141; 144; Cubas Decl. ff] 15; 26;Garza Decl. 9] 19; 21; 34. Similarly, because children and
spouses also are no longer eligible for derivative asylum consideration under the new policy, the
organizations would need to spend additional resources on each member of a family. Compl. ff
129; 150; Cubas Decl. ¥ 35; Garza Decl. ff] 31; 37. And, in addition to these client-specific
demands, the Rule would force the organizations to spend significant staff time analyzing the
new policy, attempting to overhaul training materials, and designing new orientations and other
client aids. Compl. {ff 117; 124; 141; Cubas Decl. FJ 16; 19; Garza Decl. 49 18; 32-33; 37.
These strains on the organizations’ resources would detract from their work on other
initiatives, such as providing translations and conducting country conditions research. Compl. J
126; Cubas Decl. §] 30; Garza Decl. § 30. Additionally, the drain on resources would impede the
organizations’ ability to represent individual clients throughout their entire immigration cases,
creating a risk of irreparable reputational harm. Compl. §§ 120-22; 144; Cubas Decl. 4 29; 39;
Garza Decl. {] 34-35; see, e.g., Morgan Stanley DW, Inc., 150 F. Supp. 2d at 77-78 (D.D.C.
2001) (loss of “customer trust and goodwill” constituted irreparable harm); Doe v. Trump, 288 F.
Supp. 3d 1045, 1083 (W.D. Wash. 2017) (refugee resettlement organizations faced irreparable
harm under executive action restricting refugee admissions in part because of need to

“adequately build programs to service other populations” and risk that “tany sudden shift in the
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organizations’ priorities will threaten their relationships and goodwill with community
partners”). And, in CAIR Coalition’s case, it could also jeopardize the organization’s financial
viability, because some of its funding is tied to the number of detained adults that CAIR
Coalition represents at trial each year. Compl. J 131; Cubas Decl. { 38.

In addition to all of these concrete harms, Plaintiffs have suffered irreparable injury
through Defendants’ deprivation of the ‘procedural protection to which [they are] entitled” under
the APA. Sugar Cane Growers Coop. of Fla. v. Veneman, 289 F.3d 89, 94-95 (D.C. Cir. 2002).
Had Defendants followed proper notice-and-comment procedures, CAIR Coalition and RAICES
would have filed comments objecting to the Rule. Compl. {J 132; 152; Cubas Decl. 7 40; Garza
Decl. ¥ 38. The deprivation of that opportunity is presumed to cause irreparable harm. See N.
Mariana Islands v. United States, 686 F. Supp. 2d 7, 17 (D.D.C. 2009). Otherwise, as the D.C.
Circuit has indicated, the APA’s protections would be a “dead letter.” Sugar Cane Growers
Coop., 289 F.3d at 95; see N. Mariana Islands, 686 F. Supp. 2d at 18-19 (if a rule is allowed to
go into effect for any significant period, the agencies will be “far less likely to be receptive to
comments” or subsequent policy changes, and plaintiffs “will never have an equivalent
opportunity to influence the Rule’s contents”).

B. The Balance of Equities and the Public Interest Weigh in Favor of Injunctive
Relief.

The public interest and the balance of the equities also favor entry of injunctive relief.
There is always “a public interest in preventing aliens from being wrongfully removed,
particularly to countries where they are likely to face substantial harm.” Nken v. Holder, 556
U.S. 418, 436 (2009). Indeed, this is one of the essential public interests that CAIR Coalition
and RAICES seek to serve. Compl. f§ 112-14; 134-35; Cubas Decl. J 4; 14; 39; Garza Decl. { 4;

7; 33. Temporary injunctive relief will immediately protect thousands of vulnerable migrants

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from being improperly removed to countries in which they face a grave risk of harm, thereby
freeing up Plaintiffs’ resources to perform other aspects of their organizational missions. This
Court has held that even the temporary denial of eligibility for parole determinations while in
detention “constitutes serious potential damage” contrary to the public interest, weighing in favor
of an injunction. Aracely, R. v. Nielsen, 319 F. Supp. 3d 110, 157.

Furthermore, where Congress has made an entitlement clear by statute, the Court need
look no further to determine where the public interest lies. See, e.g., League of Women Voters,
838 F.3d at 13 (there is a “substantial public interest in having governmental agencies abide by
the federal laws that govern their existence and operations”); Serono Labs., Inc. v. Shalala, 158
F.3d 1313, 1326-27 (D.C. Cir. 1998) (the “public interest balance plainly would weigh in favor
of an injunction” where an agency fails to adhere to statutory standards); Cresote Council v.
Johnson, 555 F.Supp.2d 36, 40 (D.D.C. 2008) (there is a “general public interest in open and
accountable agency decision-making”). Congress made clear in the INA that it is in the public
interest for all people to have access to asylum procedures, unless they fall within certain
carefully circumscribed exceptions. 8 U.S.C. § 1158(a)(1). By the same token, the public
interest is served “when administrative agencies comply with their obligations under the APA.”
N. Mariana Islands, 686 F. Supp. 2d at 21.

On the other hand, the burden of an injunction on Defendants would be minimal.
Defendants “cannot suffer harm from an injunction that merely ends an unlawful practice.”
Open Communities All, 286 F. Supp. 3d at 179. Moreover, the Rule sharply departs from
asylum policies that have been in effect for many years. Plaintiffs’ requested preliminary
injunction will “preserve, rather than alter, the status quo—that is, the ‘last uncontested status

which preceded the pending controversy.’ Jacinto-Castanon de Nolasco v. U.S. Immigration &
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Customs Enf’t, 319 F. Supp. 3d 491, 498 (D.D.C. 2018) (quoting Consarc Corp. v. U.S. Treasury
Dep't of Foreign Assets Control, 71 F.3d 909, 913 (D.C. Cir. 1995)).
Iii. Nationwide Injunctive Relief Is Appropriate.

This Court should issue nationwide relief and enjoin the application of the Rule to deny
asylum anywhere. As the Supreme Court has made clear, “the scope of injunctive relief’ must
be “dictated by the extent of the violation established.” Califano v. Yamasaki, 442 U.S. 682, 702
(1979). When an Executive Branch policy contravenes a statute, it is invalid and should be
struck down in its entirety. See, e.g., .N.S. v. Nat'l Ctr. for Immigrants' Rights, Inc., 502 U.S.
183, 188 (1991) (a “regulation” that is “without statutory authority” is “facially invalid”);
Sullivan v. Zebley, 493 U.S. 521, 536 n.18 (1990); Nat'l Mining Ass'n v. U.S. Army Corps of
Eng'rs, 145 F.3d 1399, 1409-10 (D.C. Cir. 1998). Here, the Rule is flatly contrary to the INA
and invalid in all applications, and should therefore be enjoined in full. See 5 U.S.C. § 706(2);
East Bay, 909 F.3d at 1255-56. As the D.C. Circuit has explained, “[t]raditional administrative
law principles” counsel against the position that “named plaintiffs alone should be protected by
the injunction.” Harmon vy. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir. 1989). “When a
reviewing court determines that agency regulations are unlawful, the ordinary result is that the
rules are vacated—not that their application to the individual petitioners is proscribed.” Jd.

Moreover, a nationwide injunction is particularly appropriate in the immigration realm.
The Constitution requires a “uniform Rule of Naturalization.” U.S. Const. art. I, § 8, cl. 4
(emphasis added). And Congress “has instructed that ‘the immigration laws of the United States
should be enforced vigorously and uniformly.’” Texas v. United States, 809 F.3d 134, 187-188
(Sth Cir. 2014) (quoting Immigration Reform and Control Act of 1986, Pub. L. No. 99-603, §

115(1), 100 Stat. 3359, 3384 (emphasis added)), aff'd by equally divided Court, 136 8. Ct. 2271
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(2016) (per curiam). A narrower injunction would contravene those commands. Congress’
“comprehensive and unified system” of immigration should not be splintered by narrow
injunctions. Arizona v. United States, 567 U.S. 387, 401 (2012); see NAACP v. Trump, 298 F.
Supp. 3d 209, 243 (D.D.C. 2018); East Bay, 909 F.3d at 1255.

Further, in fashioning equitable relief, courts must take into account “what is workable.”
North Carolina v. Covington, 137 S. Ct. 1624, 1625 (2017). Here, a narrower injunction would
be unworkable. It is not clear how an injunction limited to the organizational plaintiffs “would
work in practice,” and “whether the clients of the Plaintiff [organizations] would have special
rights that other immigrants would not have.” East Bay Sanctuary Covenant v. Trump, 349 F.
Supp. 3d 838, 866 n.21 (N.D. Cal. 2018). In short, a narrow injunction would only sow chaos,

unfairness, and inefficiency.’

 

"Tf the Court finds the Rule unlawful solely on the ground that it violates the procedural
requirements of the APA, the result would be the same. “Normally when an agency clearly
violates the APA we would vacate its action.” Humane Soc'y of the U.S. v. Zinke, 865 F.3d
585, 614 (D.C. Cir. 2017) (alterations omitted) (quoting Sugar Cane Growers Coop., 289
F.3d at 97). That course is especially proper here. First, “vacatur would not trigger
disruptive consequences.” /d. at 615. Rather, it would simply require the Defendants to do
what they have already been doing for years. Second, remanding without vacatur would be
severely prejudicial to Plaintiffs. ‘““A remand-only disposition is, in effect, an indefinite stay
of the effectiveness of the court’s decision and agencies naturally treat it as such.” Nat. Res.
Def. Council v. EPA, 489 F.3d 1250, 1262-64 (D.C. Cir. 2007) (Randolph, J., concurring).
If this Court were to remand only, countless aliens could be removed to countries where
they face grave danger or persecution on the basis of a policy that will ultimately prove
illegal. Those severe humanitarian consequences militate strongly in favor of vacatur.

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CONCLUSION

For the foregoing reasons, Plaintiffs’ Motion for a Temporary Restraining Order should

be granted, to be followed by a preliminary injunction. Given the immediate threat of irreparable

harm the Rule poses, an administrative stay should be entered pending adjudication of Plaintiffs’

Motion.

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* Motion for admission and pro hac vice
application pending admission forthcoming

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